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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  11   MGA ENTERTAINMENT INC.,                Case No. CV 14-6532-GW(RZx)

  12                     Plaintiffs,

  13         v.                                 ORDER TO DISMISS

  14   EOS PARTNERS, et al.,
  15                     Defendants.
  16

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  18         Based upon the Notice of Dismissal, filed on February 10, 2015, it is hereby
  19 ORDERED that this action is hereby dismissed in its entirety.

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  21         IT IS SO ORDERED.
  22
       Dated: February 12, 2015              BY THE COURT
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  24                                         _________________________________
                                             HONORABLE GEORGE H. WU
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                                             UNITED STATES DISTRICT JUDGE
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